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WESTERN DISTRICT 0F TENNESS'§’EY m "= 57

WESTERN DIVISION ROBE*““ R- f>i 1'"#'~¥01.10

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H. KEVIN INGRAMIr On Behalf of JUDGMENT IN A CIVIL CASE
Himself and all Others Similarly

Situated

v.

EXXON MOBIL CORPORATION, and CASE NO: 04-271'7-1')

SPENCER GIFTS LLC

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

I'I' IS SO ORDERED AN'D ADJUDGED that in accordance with the Order Of
Dismissal entered on June 7, 2005, this cause is hereby dismissed
without prejudice.

APPROVED :

ITED sTATEs DISTRICT coURT F{OBERT R.D!THOUO

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D t Clerk of Court

This document entered on the docket sheet in co p! nc
With Hu|s 58 and/or 79(3) FRCF' on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
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Ashley M. Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview TcWer

900 South Gay St.

KnoX\/ille7 TN 37902

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

Memphis7 TN 38103

Shelia B. Renfroe

THE RENFROE LAW FIRM, PLLC
P.O. BOX 770095

Memphis7 TN 38177--009

John E. Norris

THE RENFROE LAW FIRM
P.O. BoX 770095

Memphis7 TN 38177--009

Howard E. Jarvis

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC
900 S. Gay St.

Ste. 900

KnoX\/ille7 TN 37902--181

D. Frank Davis

THE RENFROE LAW FIRM
P.O. BOX 770095

Memphis7 TN 38177--009

Honorable Bernice Donald
US DISTRICT COURT

